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                                  IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE EASTERN DISTRICT OF TEXAS
                                             SHERMAN DIVISION

         In re:                                                          §    Chapter 11
                                                                         §
         ZENERGY BRANDS, INC.,                                           §    Case No. 19-42886
                                                                         §
                                    Debtor.                              §
                                                                         §
         Tax I.D. No. XX-XXXXXXX                                         §
                                                                         §
         In re:                                                          §    Chapter 11
                                                                         §
         ENERTRADE ELECTRIC, LLC,                                        §    Case No. 19-42887
                                                                         §
                                    Debtor.                              §
                                                                         §
         Tax I.D. No. XX-XXXXXXX                                         §




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                                                                §
In re:                                                          §    Chapter 11
                                                                §
NAUP BROKERAGE, LLC,                                            §    Case No. 19-42888
                                                                §
                           Debtor.                              §
                                                                §
Tax I.D. No. XX-XXXXXXX                                         §
                                                                §
In re:                                                          §    Chapter 11
                                                                §
ZEN TECHNOLOGIES, INC.,                                         §    Case No. 19-42889
                                                                §
                           Debtor.                              §
                                                                §
Tax I.D. No. XX-XXXXXXX                                         §
                                                                §
In re:                                                          §    Chapter 11
                                                                §
ZENERGY & ASSOCIATES, INC.,                                     §    Case No. 19-42891
                                                                §
                           Debtor.                              §
                                                                §
Tax I.D. No. XX-XXXXXXX                                         §
                                                                §
In re:                                                          §    Chapter 11
                                                                §
ZENERGY LABS, LLC,                                              §    Case No. 19-42892
                                                                §
                           Debtor.                              §
                                                                §
Tax I.D. No. XX-XXXXXXX                                         §
                                                                §
In re:                                                          §    Chapter 11
                                                                §
ZENERGY POWER & GAS, INC.,                                      §    Case No. 19-42893
                                                                §
                           Debtor.                              §    (Joint Administration Requested)
                                                                §
Tax I.D. No. XX-XXXXXXX                                         §




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                       DEBTORS’ MOTION FOR AN ORDER
              (I) DIRECTING JOINT ADMINISTRATION PURSUANT TO
          BANKRUPTCY RULE 1015(b) AND (II) GRANTING RELATED RELIEF

         The above-captioned debtors and debtors in possession (collectively, the “Debtors”),1 by

and through their proposed counsel, Foley & Lardner LLP, hereby submit this motion

(this “Motion”) for entry of an order, substantially in the form attached hereto as Exhibit A

(the “Proposed Order”), pursuant to Rules 1005, 1015(b), and 2002(n) of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), and Rule 1015-1 of the Local Rules of

Bankruptcy Procedure of the United States Bankruptcy Court for the Eastern District of Texas

(the “Local Rules”), directing the procedural consolidation and joint administration of the

Debtors’ chapter 11 cases. In support of this Motion, the Debtors incorporate the statements

contained in the First Day Declaration, filed contemporaneously with this Motion, and further

respectfully state as follows:

                                               Jurisdiction and Venue

         1.        The United States Bankruptcy Court for the Eastern District of Texas

(this “Court”) has jurisdiction over these cases, the Debtors, property of the Debtors’ estates and

this matter under 28 U.S.C. §§ 157 and 1334 and the Standing Order of Reference of Bankruptcy

Cases and Proceedings Nunc Pro Tunc from the United States District Court for the Eastern

District of Texas, dated August 6, 1984 (the “Standing Order”). This is a core proceeding under

28 U.S.C. § 157(b)(2). The Debtors confirm their consent, pursuant to Bankruptcy Rule 7008, to

the entry of a final order by the Court in connection with this Motion to the extent that it is later




1  The Debtors’ filed their voluntary petitions for relief filed under chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”), on the date hereof (the “Petition Date”). A detailed description of the Debtors and their businesses,
and the facts and circumstances supporting this motion and the Debtors’ chapter 11 cases, are set forth in greater detail in the
Declaration of Joshua Campbell in Support of Chapter 11 Petitions and First Day Motions (the “First Day Declaration”), filed
contemporaneously herewith.



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determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

connection herewith consistent with Article III of the United States Constitution.

       2.       Venue of these cases and this Motion in this District is proper under 28 U.S.C.

§§ 1408 and 1409.

       3.       The statutory basis for the relief requested herein is Bankruptcy Rules 1005,

1015(b), and 2002(n), and Local Rule 1015-1.

                                                   Background

       4.       On the Petition Date, each of the Debtors filed with this Court a voluntary petition

for relief under chapter 11 of the Bankruptcy Code.

       5.       The Debtors continue to operate their businesses and manage their properties as

debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. As of the

date hereof, no trustee, examiner, or official committee of unsecured creditors has been

appointed in the Debtors’ chapter 11 cases. No date has been set for a meeting pursuant to

section 341 of the Bankruptcy Code.

       6.       Additional factual background regarding the Debtors, including their business

operations, capital and debt structures, and the events leading to the filing of these chapter 11

cases is set forth in detail in the First Day Declaration, which is fully incorporated in this Motion

by reference.

                                                 Relief Requested

       7.       The Debtors seek entry of the Proposed Order, (a) directing procedural

consolidation and joint administration of these chapter 11 cases, and (b) granting related relief.

The Debtors request that one file and one docket be maintained for all of the jointly administered

cases under the case of Zenergy Brands, Inc. and that the cases be administered under a

consolidated caption, as follows:


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                          IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

In re:                                                           § Chapter 11
                                                                 §
ZENERGY BRANDS, INC., et al.,1                                   § Case No. 19-42886
                                                                 §
                 Debtors.                                        § (Jointly Administered)
1
  The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC
(8045); Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC (8649); Zenergy & Associates, Inc. (4022); and
Zen Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Granite Pkwy, #200, Plano,
TX 75024.

         8.      The Debtors further request that this Court order that the foregoing caption

satisfies the requirements set forth in section 342(c)(1) of the Bankruptcy Code.

         9.      The Debtors also request that a docket entry, substantially similar to the

following, be entered on the docket of each of the Debtors, other than Zenergy Brands, Inc., to

reflect the joint administration of these chapter 11 cases:

                 An order has been entered in accordance with Rule 1015(b) of the
                 Federal Rules of Bankruptcy Procedure and Rule 1015-1 of the
                 Local Rules of Bankruptcy Practice and Procedure of the United
                 States Bankruptcy Court for the Eastern District of Texas directing
                 joint administration for procedural purposes only of the chapter 11
                 cases of: Zenergy Brands, Inc., Case No. 19-42886; Enertrade
                 Electric, LLC, Case No. 19-42887; NAUP Brokerage, LLC, Case
                 No. 19-42888; Zen Technologies, Inc., Case No. 19-42889;
                 Zenergy & Associates, Inc., Case No. 19-42891; Zenergy Labs,
                 LLC, Case No. 19-42892 and Zenergy Power & Gas, Inc., Case
                 No. 19-42893. The docket in Case No. 19-42886 should be
                 consulted for all matters affecting this case. All further pleadings
                 and other papers shall be filed in and all further docket entries
                 shall be made in Case No. 19-42886.

                                                   Basis for Relief

         10.     Bankruptcy Rule 1015(b) provides, in pertinent part, that “[i]f . . . two or more

petitions are pending in the same court by or against . . . (2) a partnership and one or more of its

general partners, or (3) two or more general partners, or (4) a debtor and an affiliate, the court


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may order a joint administration of the estates.” Fed. R. Bankr. P. 1015. The Debtor entities that

commenced chapter 11 cases are “affiliates” as that term is defined in section 101(2) of the

Bankruptcy Code. Accordingly, the Bankruptcy Code and Bankruptcy Rules authorize the Court

to grant the relief requested herein. Bankruptcy Local Rule 1015-1 further provides for the joint

administration of related chapter 11 cases.

        11.     Joint administration of these chapter 11 cases will provide significant

administrative convenience without harming the substantive rights of any party in interest. Many

of the motions, hearings, and orders in these chapter 11 cases will affect each Debtor entity. The

entry of an order directing joint administration of these chapter 11 cases will reduce fees and

costs by avoiding duplicative filings and objections. Joint administration also will allow the

Office of the United States Trustee for the Eastern District of Texas (the “U.S. Trustee”) and all

parties in interest to monitor these chapter 11 cases with greater ease and efficiency.

        12.     Moreover, joint administration will not adversely affect the Debtors’ respective

constituencies because this motion seeks only administrative, not substantive, consolidation of

the Debtors’ estates. Parties in interest will not be harmed by the relief requested, but instead

will benefit from the cost reductions associated with the joint administration of these chapter 11

cases. Accordingly, the Debtors submit that the joint administration of these chapter 11 cases is

in the best interests of their estates, their creditors, and all other parties in interest.

        13.     Joint administration is generally noncontroversial, and courts in this jurisdiction

routinely order joint administration in cases with multiple related debtors. See, e.g., CFO

Management Holdings, LLC, Case No. 19-40426; Frisco Wade Crossing Development Partners,

LLC, Case No. 19-40427; McKinney Executive Suites at Crescent Parc Development Partners,

LLC, Case No. 19-40428; Double Droptine Ranch, LLC, Case No. 19-40429; North-Forty

Development LLC, Case No. 19-40430; Christian Custom Homes, LLC, Case No. 19-40431;

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Carter Family Office, LLC, Case No. 19-40432; Station Development, LLC, Case No. 19-40433,

and Kingswood Development Partners, LLC, Case No. 19-40434.

         14.    Based on the foregoing, the Debtors submit that the relief requested is necessary

and appropriate, and in the best interests of the Debtors, their estates, creditors and other parties

in interest and, therefore, should be granted.

                                                        Notice

         15.    The Debtors will provide notice of this motion to: (a) the U.S. Trustee; (b) the

holders of the 20 largest unsecured claims against the Debtors (on a consolidated basis); (c) the

United States Attorney’s Office for the Eastern District of Texas; (d) the Internal Revenue

Service; (e) the state attorneys general for states in which the Debtors conduct business; (f)

counsel to TCA Global Credit Master Fund, LP; (g) counsel for TCA Special Situations Credit

Strategies ICAV, the Debtors’ senior lender; and (h) any party that has requested notice pursuant

to Bankruptcy Rule 2002.

         16.    The Debtors submit that, in light of the nature of the relief requested, no other or

further notice need be given.

                                                  No Prior Request

         17.    No prior motion for the relief requested herein has been made to this or any other

court.




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       WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order,

granting the relief requested herein and such other relief as the Court deems appropriate under

the circumstances.

 Dated: October 24, 2019                                  Respectfully Submitted,

                                                          /s/ Marcus A. Helt
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                                                          Possession




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                                           Certificate of Service

       I certify that on October 24, 2019, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Eastern District of Texas.

                                                                 /s/ Marcus A. Helt
                                                                 Marcus A. Helt
